Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 1 of 24




            EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 2 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 3 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 4 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 5 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 6 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 7 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 8 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 9 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 10 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 11 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 12 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 13 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 14 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 15 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 16 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 17 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 18 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 19 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 20 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 21 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 22 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 23 of 24
                                 EXHIBIT DW-3
Case No. 1:49-cv-02782-MSK-CBS   Document 363-3   filed 02/14/14   USDC Colorado
                                  pg 24 of 24
                                 EXHIBIT DW-3
